
670 S.E.2d 904 (2008)
STATE
v.
Mario Lynn PHILLIPS.
No. 48A08.
Supreme Court of North Carolina.
December 9, 2008.
Maureen Krueger, Garland N. Yates, District Attorneys, for State of NC.
*905 Anne Gomez, Assistant Appellate Defender, for Phillips.
The following order has been entered on the motion filed on the 8th day of December 2008 by Defendant for Extension of Time for Service of Proposed Record on Appeal:
"Motion Allowed. Defendant shall have up to and including the 13th day of February 2009 to serve his/her proposed record upon the district attorney. The parties shall then proceed to settle and file the record on appeal pursuant to the provisions of Appellate Rules 11 and 12. By order of the Court in conference this the 9th day of December 2008."
